446 F.2d 651
    UNITED STATES of America, Plaintiff-Appellee,v.Thomas Ewan DEBARRE, Defendant-Appellant.
    No. 71-1740 Summary Calendar.*
    United States Court of Appeals, Fifth Circuit.
    August 16, 1971.
    
      Appeal from United States District Court, Southern District of Florida; C. Clyde Atkins, District Judge.
      Max P. Engel, John A. Boccabella, Miami, Fla., for defendant-appellant.
      Robert W. Rust, U. S. Atty., William C. White, First Asst. U. S. Atty., Miami, Fla., for plaintiff-appellee.
      Before JOHN R. BROWN, Chief Judge, and INGRAHAM and RONEY, Circuit Judges.
      PER CURIAM:
    
    Affirmed. See Local Rule 21.1
    
      
        Notes:
      
      
        *
         Rule 18, 5 Cir.; see Isbell Enterprises, Inc. v. Citizens Casualty Co. of New York et al., 5 Cir., 1970, 431 F.2d 409
      
      
        1
         See N. L. R. B. v. Amalgamated Clothing Workers of America, 5 Cir., 1970, 430 F.2d 966
      
    
    